 8:05-cr-00212-LSC-FG3         Doc # 18     Filed: 06/28/05    Page 1 of 1 - Page ID # 25




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR212
       vs.                                    )
                                              )                     ORDER
ALICE BUCKLER,                                )
                                              )
                     Defendant.               )


        This matter is before the court on defendant’s motion for an extension of time to file
pretrial motions [17]. This matter has already been set for trial, and the deadline for filing
pretrial motions expired on June 22, 2005. The motion alleges good cause for a continuance;
however, the defendant has not filed a waiver of speedy trial as required by NECrimR 12.1
or 12.3(a). Accordingly,

       IT IS ORDERED:

       1. Defendant’s Motion [17] is held in abeyance pending compliance with NECrimR
          12.1 or 12.3(a).

       2. Defendant shall electronically file the required waiver before the close of
          business on July 1, 2005.

       DATED June 28, 2005.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
